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OF TEXAS



NO. WR-28,344-20




EX PARTE MARCUS ANTHONY GREEN, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 9014200 IN THE 167TH DISTRICT COURT
FROM TRAVIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.


O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of practicing
medicine without a license and sentenced to forty years’ imprisonment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his present application, Applicant raises four grounds.  This application, however, presents
a more serious question.  This Court’s records reflect that Applicant has filed ten prior applications
pertaining to this conviction.  It is obvious from the record that Applicant continues to raise issues
that have been presented and rejected in previous applications or that should have been presented
in previous applications.  The writ of habeas corpus is not to be lightly or easily abused.  Sanders
v. U.S., 373 U.S. 1 (1963); Ex parte Carr, 511 S.W.2d 523 (Tex. Crim. App. 1974).  Because of his
repetitive claims, we hold that Applicant’s claims are barred from review under Article 11.07, § 4,
and are waived and abandoned by his abuse of the writ.  This application is dismissed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Therefore, we instruct the Honorable Abel Acosta, Clerk of the Court of Criminal Appeals,
not to accept or file the instant application for a writ of habeas corpus, or any future application
pertaining to this conviction unless Applicant is able to show in such an application that any claims
presented have not been raised previously and that they could not have been presented in a previous
application for a writ of habeas corpus.  Ex parte Bilton, 602 S.W.2d 534 (Tex. Crim. App. 1980).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this order shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Filed: July 24, 2013
Do not publish


